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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                          §
                                                §                CHAPTER 11
ALEXANDER E. JONES                              §              CASE NO. 22-33553
    Debtor                                      §

                           NOTICE OF STATUS CONFERENCE
                            [Relates to Dkt. Nos. 859, 862, and 904]

         PLEASE TAKE NOTICE that a Status Conference will be held on Thursday, November

14, 2024 at 2:30 p.m. before the Honorable Christopher M. Lopez, Courtroom 401, 515 Rusk,

Houston, Texas 77002, via telephone or video conference.

         All persons appearing at the hearing may appear telephonically or via video using the

following information:

            •   Telephonic Connection
                o The Dial-in Telephone number: 1-832-917-1510; and
                o Conference Code: 590153
                o Please mute your microphone until ready to speak to the Court.

            •   Video Connection
                o https://www.gotomeet.me/JudgeLopez

Additional information and procedures appearing before Judge Christopher M. Lopez may be found
at: https://www.txs.uscourts.gov/sites/txs/files/Lopez%20Court%20Procedures_.pdf.

                                                           Respectfully submitted,

                                                            /s/ Walter J. Cicack
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                                                           Companies, LLC
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                                    Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document has been served
through the Court’s ECF noticing system on this 14th day of November, 2024.

                                                              /s/ Walter J. Cicack
                                                             Walter J. Cicack




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